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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA
          Plaintiff                                              Case   No:   19   CR277

                v.
                                                                 Magistrate Judge Jeffrey Cole
CONCEPTION MALINEK
                Defendant


                                                 ORDER

Detention hearing held. Raymond Pijon is appointed as counsel for defendant pending the
filing of an appropriately updated financial affidavit by April 8, 2019. Defendant waives
consular notification. The government's oral motion to file the exhibits presented at the
detention hearing under seal is granted with out objection. As explained in detail at the hearing,
the govemment has shown by clear and convincing evidence that there is no condition or set of
conditions that will reasonably assure the safety of the community and it has shown by a
preponderance of evidence that there is no condition or set of conditions that will reasonably
assure the defendant's appearance at trial. The defendant has not rebutted the presumption that exists
in this case. But even if she had - and it only takes slight evidence to do so -- the presumption does not
vanish. See United States v. Hinton, I l3 F. App'x 76,78 (6th Cir. 2004). Defendant will remain
in custody. By April 8,2019 Counsel for the defendant shall advise the court if the defendant
wishes to have a preliminary examination hearing.




Date: March 28, 2018




(T:l:25)




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